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                       IN THE UNITED STATES COURT OF APPEALS
                              FOR THE FEDERAL CIRCUIT

     SOVERAIN SOFTWARE, LLC, ·               )
                                             )      Case No. 2011-1009
                     Plaintiff/Appellee,     )
                                             )      On appeal from the United States
              v.                             )      District Court for the Eastern District
                                             )      of Texas
     NEWEGG INC.,                            )      Civil Action No. 6:07-cv-00511-LED
     -
     =
     =
     C'-..1
                                             )
                     Defendant/Appellant.    )

                         MOTION OF JONES DAY TO WITHDRAW
                      AS COUNSEL FOR SOVERAIN SOFTWARE, LLC

              Pursuant to Rule 27 of the Federal Rules of Appellate Procedure, Jones Day

     moves to withdraw as counsel for appellee Soverain Software, LLC ("Soverain")

     in this matter. Soverain does not consent to Jones Day's withdrawal. As set forth

     in the accompanying memorandum, the motion should be granted because

     Soverain has failed to substantially fulfill its payment obligations to Jones Day,

     despite repeated demands in which Jones Day has warned Soverain that

     withdrawal would result. Moreover, the withdrawal will not have a material

     adverse effect on Soverain' s interests. Soverain' s brief is not due until mid-

     January at the earliest, and it already is represented by another national -law firm in

     patent litigation involving the same issues in the case giving rise to this appeal.

     Thus, Soverain has sufficient time to retain counsel and can seek an extension if

     necessary. Soverain will not be adversely affected by the withdrawal of Jones Day.



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         Jones Day's motion to withdraw should be granted.

Dated: November 19, 2010


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SOVERAIN SOFTWARE, LLC,                    )
                                           )     Case No. 2011-1009
                 Plaintiff/Appellee,       )
                                           )     On appeal from the United States
         v.                                )     District Court for the Eastern District
                                           )     of Texas
NEWEGG INC.,                               )     Civil Action No. 6:07-cv-00511-LED
                                           )
                 Defendant/Appellant.      )

      MEMORANDUM IN SUPPORT OF MOTION OF JONES DAY
    TO WITHDRAW AS COUNSEL FOR SOVERAIN SOFTWARE, LLC

         Jones Day's motion to withdraw as counsel to appellee Soverain Software,

LLC ("Soverain") should be granted. Rule 1.15(b) of the Texas Disciplinary Rules

for Professional Conduct, which governs this motion, provides that withdrawal is

permitted if the client fails to substantially fulfill an obligation to the lawyer. The

engagement letter between Soverain and Jones Day also expressly provides that

Jones Day may terminate its representation if Soverain breaches its payment or

other obligations to Jones Day.

         Soverain has refused to fulfill its significant financial obligations to Jones

Day despite repeated requests to do so. Jones Day has initiated the dispute

resolution mechanism provided in the engagement letter, which has rendered its

ongoing relationship with Soverain unreasonably difficult. Soverain's failure to

fulfill its payment obligations merits withdrawal under Rule 1.15(b).



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         Moreover, withdrawal at this time will not cause a material adverse effect on

Soverain's interests in this litigation. This appeal follows a verdict in Soverain's

favor at trial in the United States District Court for the Eastern District of Texas.

Soverain has another patent litigation, also pending in the Eastern District of Texas

and involving the same issues, in which it is represented by another national law

firm. Soverain' s brief in this appeal is not due until mid-January at the earliest.

Consequently, Soverain has adequate time to retain new appellate counsel, and can

seek an extension to file its brief if necessary. Soverain will not be prejudiced by

the withdrawal of Jones Day.

                                        Argument

A.       The Standard for Withdrawal.

         This motion relates to a procedural matter that is not unique to patent issues

or otherwise related to the merits of the appeal. "As a matter of policy the Federal

Circu.it reviews procedural matters that are not unique to patent matters under the

law of the particular regional circuit court where appeals from the district court

would normally lie." Atasi Corp. v. Seagate Technology, 847 F.2d 826, 829 (Fed.

Cir. 1988) (standard for attorney disqualification); see also Panduit Corp. v. All

States Plastic Mfg. Co., 744 F.2d 1564, 1574-75 (Fed. Cir. 1984) (standard for

attorney disqualification).




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         This appeal stems from a case litigated before the United States District

Court for the Eastern District of Texas. That court's local rules provide that the

Texas Disciplinary Rules of Professional Conduct govern. See E.D. Tex. L.R. AT-

2. The Texas rule is virtually identical to the ABA Model Rule on permissive

withdrawal, Rule 1.16(b). As the United States Court of Appeals for the Fifth

Circuit explained in a case involving attorney disqualification, while the Texas

Disciplinary Rules are not the "sole authority", because the ABA Model Rule does

not "differ materially from the corresponding Texas Rule[], ... [the court's]

discussion will therefore center on the Texas Rules." In re American Airlines, Inc.,

972 F.2d 605, 610 (5th Cir. 1992). See also Top Sales, Inc. v. Designer Vans, Inc.,

No. Civ. A 3:96-CV-0721, 1997 WL 786254, at *1 (N.D. Tex. Dec. 11, 1997)

(citing In re American Airlines and applying Texas Rule 1.15(b) on motion to

withdraw).

         Rule 1.15(b) of the Texas Disciplinary Rules of Professional Conduct

provides specific situations in which a lawyer has good cause to voluntarily

withdraw from representation. See Tex. Disciplinary Rules ofProf'l Conduct

1.15 (b). Rule 1.15 (b) provides that an attorney may withdraw if:

                 ( 1) withdrawal can be accomplished without material adverse
                 effect on the interests of the client;
                                                ***
                 (5) the client fails substantially to fulfill an obligation to the
                 lawyer regarding the lawyer's services, including an obligation


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                 to pay the lawyer's fee as agreed, and has been given
                 reasonable warning that the lawyer will withdraw unless the
                 obligation is fulfilled;
                 (6) the representation will result in an unreasonable financial
                 burden on the lawyer or has been rendered unreasonably
                 difficult by the client; or
                 (7) other good cause for withdrawal exists.

Tex. Disciplinary Rules ofProf'l Conduct 1.15(b).

         The subsections of Rule 1.15(b) are stated in the disjunctive. Thus,

"withdrawal is permitted under subsection (b )(2) through (b )(7) 'even though the

withdrawal may have a material adverse effect upon the interests of the client."' In

re Daniels, 138 S.W.3d 31, 35 (Tex. Ct. App. 2004) (quoting Tex. Disciplinary

Rules ofProf'l Conduct 1.15, cmt. 8).

         Jones Day should be permitted to withdraw because Soverain has failed to

substantially fulfill its obligation to pay its legal fees. Moreover, withdrawal will

not have a material adverse effect on Soverain.

B.       Soverain Has Failed To Fulfill Its Obligations To Jones Day.

         While Soverain and Jones Day disagree on the precise amount presently

owed, there is no dispute that Soverain has failed to fulfill its obligations to pay

Jones Day for its legal services. The engagement letter provides that certain

deferred legal fees presently are owed to Jones Day. In August, Jones Day met

with Soverain and advised it that if the deferred fees were not paid, Jones Day

would have to withdraw. Jones Day has had multiple subsequent phone


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discussions and face to face meetings with Soverain regarding the non-payment of

fees, yet Soverain refuses to pay Jones Day according to the terms of the

engagement letter. Jones Day has provided Soverain with repeated notice that its

failure to pay deferred fees will cause Jones Day to withdraw.

          By failing to pay Jones Day the deferred legal fees, Soverain has failed

substantially to fulfill its obligations to Jones Day, entitling Jones Day to withdraw

pursuant to Rule 1.15(b)(5). See Top Sales, Inc. v. Designer Vans, Inc., 1997 WL

786254, at* 1 (withdrawal granted for nonpayment of fees); In re Daniels, 138

S.W.3d at 33 (same). "A lawyer may withdraw ifthe client refuses, after being

duly warned, to abide by the terms of an agreement relating to the representation,

such as an agreement concerning fees or court costs or an agreement limiting the

objectives of the representation." Tex. Disciplinary Rules ofProfl Conduct 1.15,

cmt. 7.

          Moreover, the terms of Soverain's engagement letter with Jones Day specify

that Jones Day may terminate its representation if Soverain breaches its terms. The

engagement letter also provides for a dispute resolution process to resolve fee

disputes through mediation. Jones Day has invoked this process and provided a

list of mediators to Soverain. Pursuant to both Rule 1.15(b)(5) of the Texas Rules

ofProfessional Conduct and the terms of the parties' engagement letter, Jones Day




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should be permitted to withdraw due to Soverain's failure to pay Jones Day's legal

fees.

         In addition, Rule 1.15(b)(6) also applies. Jones Day has performed a

significant amount of work for which it has not been paid. Soverain wants Jones

Day to continue to work without pay, with the unspecific promise of payment at

some point in the future. Forcing Jones Day to do so would result in an

unreasonable financial burden. In addition, the relationship with Soverain has

deteriorated such that the representation has been "rendered unreasonably difficult"

by Soverain. For all ofthese reasons, Jones Day's motion to withdraw should be

granted.

C.       Withdrawal Will Not Have A Material Adverse Effect
         On Soverain' s Interests.

         Jones Day also is entitled to withdraw pursuant to Rule 1.15(b)( 1) because it

will not have a material adverse effect on Soverain' s interests. Soverain already

has another national law firm representing it in another action pending before

Judge Davis in the Eastern District of Texas that involves the same patents and

claims at issue in this case. Soverain' s brief is not due until mid-January at the

earliest. Soverain has ample time to retain replacement counsel for purposes of the

appeal, and can request an extension to file its brief if necessary. Soverain may

choose its existing counsel to replace Jones Day due to its familiarity with the




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subject matter, or it may choose another. Soverain will not be adversely impacted

by Jones Day's withdrawal.

                                      Conclusion

         For the foregoing reasons, Jones Day's motion to withdraw should be

granted.

Dated: November 19, 2010


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                                  Certificate of Service

         This is to certify that on November 19, 2010, a copy of the foregoing was

sent via overnight mail to the following:

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                                                   ftrdld?
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   JP85018l:js                                                         November 19,2010
   079978-083-077

   VIA UPS

   Mr. Jan Horbaly
   Clerk of Court
   U.S. Court of Appeals for the
     Federal Circuit
   717 Madison Place, N.W.
   Room 401
   Washington, D.C. 20439

                                Re:        Save rain Software, LLC v. New egg Inc. Case No. 20 1.6'-1 009                                          '
   Dear Mr. Horbaly:

           Enclosed please find the original and three copies of the Motion of Jones Day to
   Withdraw as Counsel for Plaintiff-Appellee Soverain Software, LLC, to be filed in the above-
   captioned case. I also have enclosed two additional copies, and I would appreciate if you would
   return time-stamped copies to me in the enclosed envelope. , 1 i\ J                                               f'
                                                                                                                 \           \· 'v
                   Please contact me if you have any questions.




   Enclosure

   cc:             Katharine A. Wolanyk, Esq.
                   Kent E. Baldauf, Jr., Esq.
                   David C. Hanson, Esq.
                   Daniel Harris Brean, Esq.
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   CLJ-1853938vl

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